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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                      )               CASE NO. 1:11cr391-004
                                               )
       Plaintiff,                              )               JUDGE: JAMES S. GWIN
                                               )
vs.                                            )               ORDER
                                               )
SHANIQWA JACKSON,                              )
                                               )
       Defendant.                              )



       This matter was heard on April 12, 2013, upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of her probation. The

defendant was present and represented by Attorney Bret Jordan.

       The violation report was referred to Magistrate Judge Kenneth S. McHargh who issued a

Report and Recommendation on March 21, 2013. No objections were filed to the Report and

Recommendation.

       The Court, finding no objections had been filed, adopted the Report and

Recommendation and found that the following terms of supervision had been violated:

               1) failure to attend GED program;

               2) failure to follow directives of the Probation Officer;

               3) failure to submit monthly supervision reports in a timely manner;

               4) failure to pay restitution; and

               5) failure to attend mental health aftercare.
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       The Court, after entertaining statements of counsel, the probation officer and the

defendant and having considered the Section 3553(a) factors, ordered defendant’s probation be

continued and that she be placed on home confinement with electronic monitoring for six

months; defendant shall remain at her home unless attending school, medical appointments for

herself or work; defendant shall obtain/maintain employment; defendant shall complete the GED

program and defendant shall fully comply with the probation department’s reporting

requirements.

       IT IS SO ORDERED.



Dated: April 15, 2013                               s/ James S. Gwin
                                                    JAMES S. GWIN
                                                    UNITED STATES DISTRICT JUDGE
